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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

                                              )
 KEILEE FANT, ROELIF CARTER,                  )
 ALLISON NELSON, HERBERT                      )
 NELSON JR., ALFRED MORRIS,                   )
 ANTHONY KIMBLE, DONYALE                      )
 THOMAS, SHAMEIKA MORRIS,                     )
 RONNIE TUCKER, et al.,                       )
                                              )
                Plaintiffs,                   )
                                              )
 v.                                           )
                                              )       Case No. 4-15-CV-00253-AGF
 THE CITY OF FERGUSON,                        )
                                              )
                Defendant.                    )              (Class Action)
                                              )

                  JOINT STATUS REPORT REGARDING SETTLEMENT

       Pursuant to the Court’s June 30, 2023 Order, the Parties herein provide the Court with an

update regarding the status of settlement. ECF No. 650. At this time, the Parties are not prepared

to file a joint proposed briefing schedule regarding a motion for preliminary approval of settlement.

As the Parties advised on June 30, 2023, the Parties reached a resolution in principle of the above

captioned case. ECF No. 649. However, the Parties are still working on finalizing the settlement

documents and addressing the remaining logistical issues discussed at the July 5, 2023 hearing but

need additional time do so. As such, the Parties request until September 13, 2023 to provide the

Court with another status report.




Dated: July 31, 2023                              Respectfully submitted,

 WHITE & CASE LLP                                 HELLMICH, HILL & RETTER, LLC

 By: /s/ Angela Daker                             By: /s/ Blake D. Hill
 Angela Daker (pro hac vice)                      Blake D. Hill, #58926MO
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